                  Case 15-43368                 Doc 1       Filed 12/28/15 Entered 12/28/15 18:33:37                               Desc Main
                                                              Document     Page 1 of 50
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




B 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Joel                                                            Kathleen
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's                                                                        M
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Maximov                                                         Maximov
     identification to your
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                      Kathie M Maximov
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6015                                                     xxx-xx-8176
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Joel Maximov
Debtor 2   Kathleen M Maximov                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1441 East Algonquin Rd
                                 Des Plaines, IL 60016
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cook
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Joel Maximov
Debtor 2    Kathleen M Maximov                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




B 101 (Official Form 101)                     Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Joel Maximov
Debtor 2    Kathleen M Maximov                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




B 101 (Official Form 101)                     Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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Debtor 1    Joel Maximov
Debtor 2    Kathleen M Maximov                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.      I have a mental illness or a                Incapacity.     I have a mental illness or a mental
                                                                mental deficiency that makes                                deficiency that makes me incapable
                                                                me incapable of realizing or                                of realizing or making rational
                                                                making rational decisions                                   decisions about finances.
                                                                about finances.

                                               Disability.      My physical disability causes               Disability.     My physical disability causes me to
                                                                me to be unable to participate                              be unable to participate in a briefing
                                                                in a briefing in person, by                                 in person, by phone, or through the
                                                                phone, or through the                                       internet, even after I reasonably tried
                                                                internet, even after I                                      to do so.
                                                                reasonably tried to do so.

                                               Active duty.     I am currently on active                    Active duty.    I am currently on active military duty
                                                                military duty in a military                                 in a military combat zone.
                                                                combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver of credit counseling with the               of credit counseling with the court.
                                         court.




B 101 (Official Form 101)                       Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
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Debtor 1    Joel Maximov
Debtor 2    Kathleen M Maximov                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion


20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Joel Maximov                                                 /s/ Kathleen M Maximov
                                 Joel Maximov                                                     Kathleen M Maximov
                                 Signature of Debtor 1                                            Signature of Debtor 2

                                 Executed on     December 28, 2015                                Executed on     December 28, 2015
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




B 101 (Official Form 101)                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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Debtor 1   Joel Maximov
Debtor 2   Kathleen M Maximov                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Israel Moskovits                                               Date         December 28, 2015
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Israel Moskovits
                                Printed name

                                THE SEMRAD LAW FIRM, LLC
                                Firm name

                                20 S. Clark Street
                                28th Floor
                                Chicago, IL 60603
                                Number, Street, City, State & ZIP Code

                                Contact phone     (312) 913 0625                             Email address         rsemrad@semradlaw.com
                                6302579
                                Bar number & State




B 101 (Official Form 101)                       Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                  Joel Maximov
                           First Name                           Middle Name                         Last Name

 Debtor 2                  Kathleen M Maximov
 (Spouse if, filing)       First Name                           Middle Name                         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $             90,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            197,759.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            287,759.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            111,165.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $             45,123.90


                                                                                                                                  Your total liabilities $                   156,288.90


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $               2,458.33

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $               2,458.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                       page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
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 Debtor 1      Joel Maximov
 Debtor 2      Kathleen M Maximov                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                     2,458.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                       Case 15-43368                    Doc 1           Filed 12/28/15 Entered 12/28/15 18:33:37                                   Desc Main
                                                                         Document     Page 10 of 50
 Fill in this information to identify your case and this filing:

 Debtor 1                    Joel Maximov
                             First Name                             Middle Name                    Last Name

 Debtor 2                    Kathleen M Maximov
 (Spouse, if filing)         First Name                             Middle Name                    Last Name


 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                                                                  Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply.

                                                                                   Single-family home                          Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building               Creditors Who Have Claims Secured by Property.

                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
                                                                                   Land                                        entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                 $90,000.00                   $90,000.00
                                                                                   Timeshare
                                                                                   Other                                       Describe the nature of your ownership interest
                                                                            Who has an interest in the property? Check         (such as fee simple, tenancy by the entireties, or
                                                                            one.                                               a life estate), if known.
                                                                                   Debtor 1 only                               Fee Simple
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                                   At least one of the debtors and another          (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            1441 E Algonquin Rd, Des Plaines, IL 60016
                                                                            Value per appraisal


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $90,000.00
 Part 2:       Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                   page 1
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 Debtor 1           Joel Maximov
 Debtor 2           Kathleen M Maximov                                                                            Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes

                                                                                                                           Do not deduct secured claims or exemptions. Put
  3.1      Make:                                               Who has an interest in the property? Check one.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                                                    Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
           Year:                                                     Debtor 2 only                                         Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
           2010 Toyota Corolla
           Value per KBB                                              Check if this is community property                            $8,459.00                  $8,459.00
                                                                     (see instructions)



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $8,459.00

 Part 3:     Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....
                                    Furniture                                                                                                                      $400.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
     No
        Yes. Describe.....
                                    MC Escher signed lithograph                                                                                                    $300.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....
                                    Gibson Electric Les Paul Custom Guitar
                                    Gill Jumbo body folk guitar                                                                                                    $800.00




Official Form 106A/B                                                      Schedule A/B: Property                                                                      page 2
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 Debtor 1         Joel Maximov
 Debtor 2         Kathleen M Maximov                                                                                          Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....
                                           Clothing                                                                                                                     $350.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....
                                           Jewelry                                                                                                                      $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $1,950.00


 Part 4:   Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................
                                                                                                                                 Cash on hand                             $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                             17.1.                                             Checking account with Bank of America                                  $2,300.00



                                             17.2.                                             Savings account with Bank of America                                         $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                           Institution or issuer name:


Official Form 106A/B                                                                    Schedule A/B: Property                                                             page 3
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 Debtor 1       Joel Maximov
 Debtor 2       Kathleen M Maximov                                                                           Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                           Institution name:
                                                                           IRA                                                                      $185,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............    Issuer name and description.
                                    Pension with Cook County Forest Preserve                                                                                  $0.00


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                                  Schedule A/B: Property                                                                 page 4
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 Debtor 1        Joel Maximov
 Debtor 2        Kathleen M Maximov                                                                                              Case number (if known)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                       Beneficiary:                                 Surrender or refund
                                                                                                                                                                  value:
                                            Term life insurance policy                                                                                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $187,350.00

 Part 5:   Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.


Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 5
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 Debtor 1        Joel Maximov
 Debtor 2        Kathleen M Maximov                                                                                                   Case number (if known)

 Part 7:   Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:   List the Totals of Each Part of this Form


 55.   Part 1: Total real estate, line 2 ......................................................................................................................            $90,000.00
 56.   Part 2: Total vehicles, line 5                                                                    $8,459.00
 57.   Part 3: Total personal and household items, line 15                                               $1,950.00
 58.   Part 4: Total financial assets, line 36                                                       $187,350.00
 59.   Part 5: Total business-related property, line 45
                                                                                                                     $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                       $0.00
 61. Part 7: Total other property not listed, line 54                                           +                    $0.00

 62. Total personal property. Add lines 56 through 61...                                                  $197,759.00               Copy personal property total          $197,759.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $287,759.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                            page 6
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
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                                                                  Document     Page 16 of 50
 Fill in this information to identify your case:

 Debtor 1                  Joel Maximov
                           First Name                       Middle Name                 Last Name

 Debtor 2                  Kathleen M Maximov
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1441 E Algonquin Rd, Des Plaines, IL                           $90,000.00                                $30,000.00      735 ILCS 5/12-901
      60016
      Value per appraisal                                                                  100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit

      2010 Toyota Corolla                                             $8,459.00                                  $2,400.00     735 ILCS 5/12-1001(c)
      Value per KBB
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2010 Toyota Corolla                                             $8,459.00                                  $4,000.00     735 ILCS 5/12-1001(b)
      Value per KBB
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Furniture                                                           $400.00                                  $400.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      MC Escher signed lithograph                                         $300.00                                  $300.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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 Debtor 1    Joel Maximov
 Debtor 2    Kathleen M Maximov                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
     Gibson Electric Les Paul Custom Guitar                              $800.00                                   $800.00        735 ILCS 5/12-1001(b)
     Gill Jumbo body folk guitar
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                            $350.00                                   $350.00        735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry                                                             $100.00                                   $100.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                         $50.00                                     $50.00       735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking account with Bank of America                             $2,300.00                                 $2,300.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA                                                             $185,000.00                              $185,000.00         735 ILCS 5/12-1006
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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                       Case 15-43368              Doc 1          Filed 12/28/15 Entered 12/28/15 18:33:37                                        Desc Main
                                                                  Document     Page 18 of 50
 Fill in this information to identify your case:

 Debtor 1                   Joel Maximov
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Kathleen M Maximov
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                          Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                               value of collateral.   claim                   If any
 2.1     Bank Of America                          Describe the property that secures the claim:                  $110,120.00                $90,000.00           $20,120.00
         Creditor's Name                          1441 E Algonquin Rd, Des Plaines, IL
         Correspondence                           60016
         FL-1-908-01-49                           Value per appraisal
                                                  As of the date you file, the claim is: Check all that
         Po Box 31785                             apply.
         Tampa, FL 33631                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)      Mortgage
     community debt

                                 Opened
                                 4/01/12 Last
                                 Active
 Date debt was incurred          9/02/15                   Last 4 digits of account number        1901

 2.2     Toyota Motor Credit Co                   Describe the property that secures the claim:                     $1,045.00                 $8,459.00                  $0.00
         Creditor's Name                          2010 Toyota Corolla
                                                  Value per KBB
         Toyota Financial Services
                                                  As of the date you file, the claim is: Check all that
         Po Box 8026                              apply.
         Cedar Rapids, IA 52408                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
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 Debtor 1 Joel Maximov                                                                                   Case number (if know)
             First Name                 Middle Name                       Last Name
 Debtor 2 Kathleen M Maximov
             First Name                 Middle Name                       Last Name


    Check if this claim relates to a                  Other (including a right to offset)       Automobile
    community debt                                                                              PMSI

                              Opened
                              12/01/10
                              Last Active
 Date debt was incurred       8/04/15                     Last 4 digits of account number         0001


   Add the dollar value of your entries in Column A on this page. Write that number here:                             $111,165.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $111,165.00

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.
        Name Address
        -NONE-                                                                              On which line in Part 1 did you enter the creditor?

                                                                                            Last 4 digits of account number




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2
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                                                                    Document     Page 20 of 50
 Fill in this information to identify your case:

 Debtor 1                   Joel Maximov
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Kathleen M Maximov
 (Spouse if, filing)        First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                                 Check if this is an
                                                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
       1. Do any creditors have priority unsecured claims against you?

                No. Go to Part 2.

               Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
       3. Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

                Yes.

       4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
          unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
          than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
          Part 2.
                                                                                                                                                                Total claim
 4.1          Advocate Lutheran General                              Last 4 digits of account number                                                             $         22,290.62
              Nonpriority Creditor's Name
              1775 W Dempster                                        When was the debt incurred?
              Park Ridge, IL 60068
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply

              Who incurred the debt? Check one.                         Contingent
                 Debtor 1 only
                 Debtor 2 only                                          Unliquidated

                 Debtor 1 and Debtor 2 only                             Disputed

                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                Student loans
              debt
              Is the claim subject to offset?                            Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify           Medical


 4.2          Advocate Medical Group                                 Last 4 digits of account number                                                             $              474.00
              Nonpriority Creditor's Name
              701 Lee Street                                         When was the debt incurred?
              Des Plaines, IL 60016
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 6
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                               35164                                                 Best Case Bankruptcy
                 Case 15-43368                   Doc 1           Filed 12/28/15 Entered 12/28/15 18:33:37                                            Desc Main
                                                                  Document     Page 21 of 50
 Debtor 1 Joel Maximov
 Debtor 2 Kathleen M Maximov                                                                                Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Unsecured


 4.3      Bank of America                                            Last 4 digits of account number       7862                                          $         7,943.00
          Nonpriority Creditor's Name
                                                                                                           Opened 2/01/12 Last
          Po Box 982236                                              When was the debt incurred?           Active 7/16/14
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.4      Capital One                                                Last 4 digits of account number       1855                                          $         5,851.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/01/05 Last
          Po Box 30285                                               When was the debt incurred?           Active 7/18/14
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.5      Chase Card Services                                        Last 4 digits of account number       7544                                          $         3,949.00
          Nonpriority Creditor's Name



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 6
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 Debtor 1 Joel Maximov
 Debtor 2 Kathleen M Maximov                                                                                Case number (if know)

                                                                                                           Opened 11/01/07 Last
          Po Box 15298                                               When was the debt incurred?           Active 8/06/14
          Wilmington, DE 19050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.6      Chase Card Services                                        Last 4 digits of account number       1214                                          $         1,628.00
          Nonpriority Creditor's Name
                                                                                                           Opened 3/01/94 Last
          Po Box 15298                                               When was the debt incurred?           Active 11/16/09
          Wilmington, DE 19050
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Credit Card


 4.7      City of Des Plaines                                        Last 4 digits of account number                                                     $             25.00
          Nonpriority Creditor's Name
          1420 Miner St.                                             When was the debt incurred?
          Des Plaines, IL 60016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Parking Ticket



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 6
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 Debtor 1 Joel Maximov
 Debtor 2 Kathleen M Maximov                                                                                Case number (if know)

 4.8      Global Health Care                                         Last 4 digits of account number                                                     $         1,365.00
          Nonpriority Creditor's Name
          4250 N. Marine Dr #236                                     When was the debt incurred?
          Chicago, IL 60613
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Medical


 4.9      Grant & Weber                                              Last 4 digits of account number       9076                                          $           480.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 3/01/14
          26575 W. Agoura Rd.
          Calabasas, CA 91302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Presence Holy Family
                                                                                                Med Ctr


 4.10     Grant & Weber                                              Last 4 digits of account number       6723                                          $           193.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 3/01/14
          26575 W. Agoura Rd.
          Calabasas, CA 91302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 4 of 6
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 Debtor 1 Joel Maximov
 Debtor 2 Kathleen M Maximov                                                                                Case number (if know)

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Collection Attorney Presence Holy Family
                                                                                                Med Ctr


 4.11     ICS                                                        Last 4 digits of account number                                                     $           257.00
          Nonpriority Creditor's Name
          PO Box 1010                                                When was the debt incurred?
          Tinley Park, IL 60477-9110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Advanced Radiology Consultants


 4.12     Midwest Diagnostic Pathology                               Last 4 digits of account number                                                     $           425.00
          Nonpriority Creditor's Name
          PO Box 578                                                 When was the debt incurred?
          Park Ridge, IL 60068-0678
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply

          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt
          Is the claim subject to offset?                                Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Medical


 4.13     Resurrection Health Care                                   Last 4 digits of account number                                                     $           243.28
          Nonpriority Creditor's Name
          7435 West Talcott Avenue                                   When was the debt incurred?
          Chicago, IL 60631

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 5 of 6
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 Debtor 1 Joel Maximov
 Debtor 2 Kathleen M Maximov                                                                                Case number (if know)

           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply

           Who incurred the debt? Check one.                            Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed

              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt
           Is the claim subject to offset?                               Obligations arising out of a separation agreement or divorce that you did
                                                                     not report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify          Medical


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.

 Name and Address                                               On which entry in Part 1 or Part2 did you list the original creditor?
 Advanced Radiology Consultants                                 Line 4.11 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
 520 E 22nd St                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Lombard, IL 60148
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part2 did you list the original creditor?
 Blitt and Gaines PC                                            Line 4.4 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
 661 Glenn Ave                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wheeling, IL 60090
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part2 did you list the original creditor?
 Fredrick J. Hanna and Associates                               Line 4.3 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
 2253 Northwest Parkway                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Marietta, GA 30067
                                                                Last 4 digits of account number

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.
                                                                                                                            Total claim
                        6a.   Domestic support obligations                                                    6a.       $                            0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                            6b.       $                            0.00
                        6c.   Claims for death or personal injury while you were intoxicated                  6c.       $                            0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.         6d.       $                            0.00

                        6e.   Total. Add lines 6a through 6d.                                                 6e.       $                            0.00

                                                                                                                       Total Claim
                        6f.   Student loans                                                                   6f.       $                            0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                               6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts               6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.            $                    45,123.90

                        6j.   Total. Add lines 6f through 6i.                                                 6j.       $                    45,123.90




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 6 of 6
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 Fill in this information to identify your case:

 Debtor 1                  Joel Maximov
                           First Name                         Middle Name              Last Name

 Debtor 2                  Kathleen M Maximov
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                       State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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                       Case 15-43368                 Doc 1           Filed 12/28/15 Entered 12/28/15 18:33:37              Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   Joel Maximov
                            First Name                           Middle Name       Last Name

 Debtor 2                   Kathleen M Maximov
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:

    3.1                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                     State                      ZIP Code




    3.2                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                     State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Joel Maximov

Debtor 2                      Kathleen M Maximov
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Retired                                    Retired
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $             0.00    $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $          0.00           $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
              Case 15-43368             Doc 1        Filed 12/28/15 Entered 12/28/15 18:33:37                                  Desc Main
                                                      Document     Page 29 of 50

Debtor 1    Joel Maximov
Debtor 2    Kathleen M Maximov                                                                    Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00     $                0.00
      5e.   Insurance                                                                      5e.     $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.     $              0.00     $                0.00
      5g.   Union dues                                                                     5g.     $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                   0.00
      8g. Pension or retirement income                                                     8g. $             2,458.33   $                   0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                   0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,458.33      $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,458.33 + $              0.00 = $           2,458.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $           2,458.33
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Co-debtor's car has 3 payments left so the monthly payments are not factored into schedule J.




Official Form 106I                                                    Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Joel Maximov                                                                       Check if this is:
                                                                                                                An amended filing
Debtor 2                 Kathleen M Maximov                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,600.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Joel Maximov
Debtor 2     Kathleen M Maximov                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    150.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     30.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    250.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   200.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    30.00
10.   Personal care products and services                                                   10. $                                                     30.00
11.   Medical and dental expenses                                                           11. $                                                     25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                     73.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                     70.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,458.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,458.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               2,458.33
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              2,458.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                     0.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




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 Fill in this information to identify your case:

 Debtor 1                  Joel Maximov
                           First Name                       Middle Name             Last Name

 Debtor 2                  Kathleen M Maximov
 (Spouse if, filing)       First Name                       Middle Name             Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                          Check if this is an
                                                                                                                                     amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer’s Notice, Declaration,
                                                                                                and Signature (Official Form 119).


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Joel Maximov                                                          X   /s/ Kathleen M Maximov
              Joel Maximov                                                              Kathleen M Maximov
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date      December 28, 2015                                               Date    December 28, 2015




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Joel Maximov
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Kathleen M Maximov
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)

 For last calendar year:                              Wages, commissions,                              $0.00          Wages, commissions,                $48,036.00
 (January 1 to December 31, 2014 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                            Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 2      Kathleen M Maximov                                                                           Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For the calendar year before that:                   Wages, commissions,                              $0.00          Wages, commissions,            $73,987.00
 (January 1 to December 31, 2013 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Describe below..                 (before deductions and         Describe below.             (before deductions
                                                                                    exclusions)                                                and exclusions)
 From January 1 of current year until 2015 YTD: Debtor Est.                                     $24,583.33
 the date you filed for bankruptcy:   Pension Income

 For the calendar year:                            2014: Debtor Est.                            $28,534.00
 (January 1 to December 31, 0 )                    Pension Income

                                                   2013: Debtor Est.                            $27,687.00
                                                   Pension Income

                                                   2015 YTD: Wife Est.                            $5,330.00
                                                   Unemployment Income

                                                   2014: Wife Est.                                $6,270.00
                                                   Unemployment Income


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2

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 Debtor 2      Kathleen M Maximov                                                                           Case number (if known)


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Capital One Bank v. Kathie M.                            Contract                    Cook County, IL Cir. Cr.                    Pending
       Maximov                                                                              Suburb'n Mun. D                             On appeal
       2015-M2-003111
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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 Debtor 2      Kathleen M Maximov                                                                           Case number (if known)


 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                            lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       THE SEMRAD LAW FIRM, LLC                                      $500.00 ($425.00 to costs)                               10/24/2015                  $500.00
       20 S. Clark Street
       28th Floor
       Chicago, IL 60603


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)


 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
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are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Joel Maximov                                                       /s/ Kathleen M Maximov
 Joel Maximov                                                           Kathleen M Maximov
 Signature of Debtor 1                                                  Signature of Debtor 2

 Date     December 28, 2015                                             Date      December 28, 2015

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7

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 Fill in this information to identify your case:

 Debtor 1                   Joel Maximov
                            First Name                      Middle Name             Last Name

 Debtor 2                   Kathleen M Maximov
 (Spouse if, filing)        First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                  12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?



    Creditor's          Bank Of America                                    Surrender the property.                            No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a               Yes
    Description of 1441 E Algonquin Rd, Des                                Reaffirmation Agreement.
    property       Plaines, IL 60016                                       Retain the property and [explain]:
    securing debt: Value per appraisal



    Creditor's          Toyota Motor Credit Co                             Surrender the property.                            No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a               Yes
    Description of         2010 Toyota Corolla                             Reaffirmation Agreement.
    property               Value per KBB                                   Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                      Will the lease be assumed?



Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                 page 1

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 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Lessor's name:                                                                                                        No
 Description of leased
 Property:                                                                                                             Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Joel Maximov                                                            X /s/ Kathleen M Maximov
       Joel Maximov                                                                   Kathleen M Maximov
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        December 28, 2015                                               Date    December 28, 2015




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                      page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
 You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
 Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                       $1,717   total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that many
             people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
             inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
             farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235 filing fee                                                               debts for fraud or defalcation while acting in a
 +                  $75 administrative fee                                                       fiduciary capacity,
                   $310 total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge some                                        bankruptcy papers,
 debts that are not paid. You are eligible for chapter 13
 only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
 amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
 s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
                                                                                          before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                                must complete a financial management instructional
        perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
        imprisoned, or both.                                                              course.

        All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
        Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
        Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

 The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
 address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
 Filing for Bankruptcy (Official Form 101). To ensure                                     list.
 that you receive information about your case,
 Bankruptcy Rule 4002 requires that you notify the court
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
             Joel Maximov
 In re       Kathleen M Maximov                                                                               Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,000.00
             Prior to the filing of this statement I have received                                        $                       75.00
             Balance Due                                                                                  $                      925.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 28, 2015                                                           /s/ Israel Moskovits
     Date                                                                        Israel Moskovits 6302579
                                                                                 Signature of Attorney
                                                                                 THE SEMRAD LAW FIRM, LLC
                                                                                 20 S. Clark Street
                                                                                 28th Floor
                                                                                 Chicago, IL 60603
                                                                                 (312) 913 0625 Fax: (312) 913 0631
                                                                                 rsemrad@semradlaw.com
                                                                                 Name of law firm




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            Joel Maximov
 In re      Kathleen M Maximov                                                                            Case No.
                                                                                  Debtor(s)               Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                          Number of Creditors:                                 18




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: December 28, 2015                                               /s/ Joel Maximov
                                                                       Joel Maximov
                                                                       Signature of Debtor

 Date: December 28, 2015                                               /s/ Kathleen M Maximov
                                                                       Kathleen M Maximov
                                                                       Signature of Debtor




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Advanced Radiology   Consultants
          Case 15-43368  Doc 1 Fredrick   J. Hanna
                               Filed 12/28/15        and
                                               Entered    Associates
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520 E 22nd St                  2253  Northwest
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Lombard, IL 60148              Marietta, GA 30067

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Advocate Lutheran General        Global Health Care
1775 W Dempster                  4250 N. Marine Dr #236
Park Ridge, IL 60068             Chicago, IL 60613



Advocate Medical Group           Grant & Weber
701 Lee Street                   Attn: Bankruptcy
Des Plaines, IL 60016            26575 W. Agoura Rd.
                                 Calabasas, CA 91302


Bank Of America              Grant & Weber
Correspondence FL-1-908-01-49Attn: Bankruptcy
Po Box 31785                 26575 W. Agoura Rd.
Tampa, FL 33631              Calabasas, CA 91302


Bank of America                  ICS
Po Box 982236                    PO Box 1010
El Paso, TX 79998                Tinley Park, IL 60477-9110



Blitt and Gaines PC              Midwest Diagnostic Pathology
661 Glenn Ave                    PO Box 578
Wheeling, IL 60090               Park Ridge, IL 60068-0678



Capital One                      Resurrection Health Care
Attn: Bankruptcy                 7435 West Talcott Avenue
Po Box 30285                     Chicago, IL 60631
Salt Lake City, UT 84130


Chase Card Services              Toyota Motor Credit Co
Po Box 15298                     Toyota Financial Services
Wilmington, DE 19050             Po Box 8026
                                 Cedar Rapids, IA 52408


Chase Card Services
Po Box 15298
Wilmington, DE 19050



City of Des Plaines
1420 Miner St.
Des Plaines, IL 60016
